Case 2:21-cv-00022-Z Document 385-1 Filed 01/06/23               Page 1 of 2 PageID 14396



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION

                                §
UNITED STATES OF AMERICA, ex rel.
ALEX DOE, Relator, THE STATE OF §
                                §
TEXAS, ex rel. ALEX DOE, Relator, THE
                                §
STATE OF LOUISIANA, ex rel. ALEX DOE,
Relator,                        §                         No. 2:21-cv-022-Z
                                §
       Plaintiffs,              §
                                §
v.                              §
                                §
PLANNED PARENTHOOD FEDERATION §
OF AMERICA, INC., PLANNED       §
PARENTHOOD GULF COAST, INC.,    §
                                §
PLANNED PARENTHOOD OF GREATER
                                §
TEXAS, INC., PLANNED PARENTHOOD §
SOUTH TEXAS, INC., PLANNED      §
PARENTHOOD CAMERON COUNTY,      §
INC., PLANNED PARENTHOOD SAN    §
ANTONIO, INC.,                  §
                                §
       Defendants.              §


                                   [PROPOSED] ORDER

       Before the Court is Defendant Planned Parenthood Federation of America, Inc.’s (“PPFA”)

Motion for Summary Judgment (the “Motion”). Having considered the Motion, the operative

pleadings, and all other papers and arguments raised in connection with the Motion, the Court

hereby GRANTS the Motion, finding in favor of PPFA and against Plaintiffs on all claims asserted

in Relator’s Complaint, ECF No. 2, and Texas’s Complaint in Intervention, ECF No. 22.

       IT IS SO ORDERED on this ____ day of ___________________, 2023.

                                                   _____________________________
                                                       Hon. Matthew J. Kacsmaryk
                                                       United States District Judge




                                               1
Case 2:21-cv-00022-Z Document 385-1 Filed 01/06/23                Page 2 of 2 PageID 14397



                               CERTIFICATE OF SERVICE

      I hereby certify that on January 6, 2023, a copy of the foregoing was served pursuant to the

Court’s ECF system.

                                                                   /s/ Danny S. Ashby
                                                                   Danny S. Ashby




                                               2
